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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                CASE NO.: 22-80285-CIV-CANNON

  TARA DUNCAN,

         Plaintiff,

  v.

  NCS PEARSON, INC.,
  JOHN DOE CORPORATION, an unnamed
  corporate entity, and JOHN DOE, an
  unnamed individual in his official and
  individual capacity,

        Defendants.
  _____________________________________/

                      JOINT STIPULATION FOR PROTECTIVE ORDER

         Plaintiff, Tara Duncan (“Plaintiff”), and Defendant, NCS Pearson, Inc. (“Defendant”)

  (collectively the “Parties”), hereby agree to the following procedures for the handling of

  documents and information exchanged in the above-styled action (“Lawsuit”) which is claimed by

  a Party or non-party to be confidential or proprietary. The restrictions and procedures set forth

  herein shall govern discovery and other aspects of this Lawsuit absent an agreement in writing by

  the Parties or an Order of the Court.

         IT IS HEREBY STIPULATED and AGREED that:

         1.      Scope of Agreement. This Confidentiality Agreement (“Agreement” or

  “Stipulation”) governs all documents, testimony or information that are both (a) produced,

  disclosed, or otherwise made available to any Party in this proceeding and (b) designated by a

  Party or non-party (a “Producing Party”) as “Confidential” or “Attorneys’ Eyes Only”

  (“Confidential Information”).
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         2.     Any Party or, as appropriate, non-party, may designate Documents produced, or

  Testimony given, in connection with this action as “Confidential” or “Attorneys’ Eyes Only,”

  either by notation on each page of the Document so designated, statement on the record of the

  deposition, or written advice to the respective undersigned counsel for the Parties hereto, or by

  other appropriate means.

         3.      As used herein:

                (a)     “Confidential Information” shall mean: (i) all Documents and Testimony,

         and all information contained therein, and other information designated as Confidential, if

         such Documents or Testimony contain trade secrets, proprietary business information,

         competitively sensitive information or other information the disclosure of which would, in

         the good faith judgment of the Party or, as appropriate, non-party designating the material

         as Confidential, be detrimental to the conduct of that Party’s or non-party’s business or the

         business of any of that Party’s or non-party’s customers or clients; and (ii) all Documents

         and Testimony, and all information contained therein, and other information designated as

         Attorneys’ Eyes Only, if such Documents or Testimony contain particularly sensitive

         business or personal information, including personal identifying information or other

         information the disclosure of which to another Party or non-party would, in the good faith

         judgment of the Party or, as appropriate, non-party designating the material as Attorneys’

         Eyes Only, create a substantial risk of significant harm to an individual, that Party’s or non-

         party’s business or competitive position, or the business of any of that Party’s or non-

         party’s customers or clients.

                (b)     “Producing Party” shall mean the parties to this action and any non-parties

         producing “Confidential Information” in connection with depositions, document

         production or otherwise, or the Party or non-party asserting the confidentiality privilege,

         as the case may be.




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                 (c)    “Receiving Party” shall mean the Parties to this action and/or any nonparty

         receiving “Confidential Information” in connection with depositions, document

         production, subpoenas or otherwise.

         4.      The Receiving Party may, at any time, notify the Producing Party that the Receiving

  Party does not concur in the designation of a document or other material as Confidential

  Information. If the Producing Party does not agree to declassify such document or material within

  three (3) days of the written request, the Receiving Party may move before the Court for an order

  declassifying those documents or materials. If no such motion is filed, such documents or materials

  shall continue to be treated as Confidential Information. If such motion is filed, the documents or

  other materials shall be deemed Confidential Information unless and until the Court rules

  otherwise. Notwithstanding anything herein to the contrary, the Producing Party bears the burden

  of establishing the propriety of its designation of documents or information as Confidential

  Information.

         5.      Except with the prior written consent of the Producing Party or by Order of the

  Court, Confidential Information shall not be furnished, shown or disclosed to any person or entity

  except to:

                 (a)    the Parties and personnel of the Parties actually engaged in assisting in the

         preparation of this action for trial or other proceeding herein and who have been advised

         of their obligations hereunder;

                 (b)    counsel for the Parties to this action and their associated attorneys,

         paralegals and other professional and non-professional personnel (including support staff,

         outside translation services and outside copying services) who are directly assisting such

         counsel in the preparation of this action for trial or other proceeding herein, are under the

         supervision or control of such counsel, and who have been advised by such counsel of their

         obligations hereunder;

                 (c)    expert witnesses or consultants retained by the Parties or their counsel to

         furnish technical or expert services in connection with this action or to give testimony with

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         respect to the subject matter of this action at the trial of this action or other proceeding

         herein; provided, however, that such Confidential Information is furnished, shown or

         disclosed in accordance with paragraph 7 hereof;

                 (d)     the Court and court personnel;

                 (e)     an officer before whom a deposition is taken, including stenographic

         reporters and any necessary secretarial, clerical or other personnel of such officer;

                 (f)     trial and deposition witnesses, if furnished, shown or disclosed in

         accordance with paragraphs 9 and 10, respectively, hereof; and

                 (g) any other person agreed to by the Producing Party.

         6.      Notwithstanding paragraph 5, hereof, except with the prior written consent of the

  Producing Party or by Order of the Court, Confidential Information designated as Attorneys’ Eyes

  Only may be disclosed only to the individuals described in paragraph 5(b) through (e), and:

                 (a)     any trial or deposition witness if it appears that the witness authored or

         received a copy of the Confidential Information, was involved in the subject matter

         described therein or is employed by the Producing Party; and

                 (b)     any other person agreed to by the Producing Party.

         It is, however, understood that counsel for a Party may give advice and opinions to his or

  her client solely relating to this action based on his or her evaluation of the Confidential
  Information designated as Attorneys’ Eyes Only, provided that such advice and opinions shall not

  reveal the content of such Confidential Information designated as Attorneys’ Eyes Only except

  with the prior written consent of the Producing Party or by Order of the Court.

         7.      Confidential Information shall be utilized by the Receiving Party and its counsel

  only for purposes of this litigation and for no other purposes.

         8.      Before any disclosure of Confidential Information is made to an expert witness or

  consultant pursuant to paragraph 5(c) hereof, counsel for the Receiving Party making such

  disclosure shall provide to the expert witness or consultant a copy of this Stipulation and obtain

  the expert’s or consultant’s written agreement, in the form of Exhibit A attached hereto, to comply

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  with and be bound by its terms. Counsel for the Receiving Party obtaining the certificate shall

  supply a copy to counsel for the other Parties at the time designated for expert disclosure, except

  that any certificate signed by an expert or consultant who is not expected to be called as a witness

  at trial is not required to be supplied.

          9.      Should the need arise for any Party or, as appropriate, non-party, to disclose

  Confidential Information during any hearing or trial before the Court, including through argument

  or the presentation of evidence, such Party or, as appropriate, non-party may do so only after taking

  such steps as the Court, upon motion of the Party seeking to disclose, shall deem necessary to

  preserve the confidentiality of such Confidential Information.

          10.     Except for Confidential Information designated as Attorneys’ Eyes Only, this

  Stipulation shall not preclude counsel for any Party from using during any deposition in this action

  any Documents or Testimony which has been designated as “Confidential Information” under the

  terms hereof. If the need arises during any deposition, any hearing before the Court, or trial for

  any party to disclose Confidential Information designated as Attorneys’ Eyes Only, it may do so

  only after giving adequate notice to the Party in order that the Party has an opportunity to object

  to same and have same decided by the Court prior to its use or, as appropriate, non-party

  designating the material as Attorneys’ Eyes Only and obtaining permission from the Court or as

  directed by the Court. Any deposition witness who is given access to Confidential Information
  shall, prior thereto, be provided with a copy of this Stipulation and shall execute a written

  agreement, in the form of Exhibit A attached hereto, to comply with and be bound by its terms.

  Counsel for the Party obtaining the certificate shall supply a copy to counsel for the other Parties

  and, as appropriate, a non-party that is a Producing Party. In the event that, upon being presented

  with a copy of the Stipulation, a witness refuses to execute the agreement to be bound by this

  Stipulation, the Court shall, upon application, enter an order directing the witness’s compliance

  with the Stipulation.




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         11.     A Party may designate as Confidential Information subject to this Stipulation any

  document, information, or deposition testimony produced or given by any nonparty to this case,

  or any portion thereof. In the case of Documents produced by a non-party, designation shall be

  made by notifying all counsel in writing of those documents which are to be stamped and treated

  as such at any time up to five (5) days after actual receipt of copies of those documents by counsel

  for the Party asserting the confidentiality or attorneys’ eyes only privilege. In the case of deposition

  Testimony, designation shall be made by notifying all counsel in writing of those portions which

  are to be stamped or otherwise treated as such at any time up to five (5) days after the transcript is

  received by counsel for the Party (or, as appropriate, non-party) asserting the confidentiality or

  attorneys’ eyes only privilege. Prior to the expiration of such five (5) day period (or until a

  designation is made by counsel, if such a designation is made in a shorter period of time), all such

  Documents and Testimony shall be treated as Confidential Information.
         12. Electronic Filing.

                 (a)     A Party or, as appropriate, non-party, who seeks to file with the Court (i)

         any deposition transcripts, exhibits, answers to interrogatories, or other documents which

         have previously been designated as comprising or containing Confidential Information, or

         (ii) any pleading, brief or memorandum which reproduces, paraphrases or discloses

         Confidential Information shall file the document, pleading, brief, or memorandum on

         CM/ECF in redacted form until the Court renders a decision on any motion to seal or

         motion to unseal (the “Redacted Filing”).

                 (b)     In the event that the Party’s (or, as appropriate, non-party’s) filing includes

         Confidential Information produced by a Producing Party that is a non-party, the filing Party

         shall so notify that Producing Party within twenty four (24) hours after the Redacted Filing

         by providing the Producing Party with a copy of the Redacted Filing as well as a version

         of the filing with the relevant Producing Party’s Confidential Information unredacted.

                 (c)     If the filing Party makes a timely motion to seal, and the motion is granted,

         the filing Party (or, as appropriate, non-party) shall ensure that all documents (or, if directed

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         by the court, portions of documents) that are the subject of the order to seal are filed in

         accordance with the procedures that govern the filing of sealed documents on CM/ECF. If

         the filing Party’s motion to seal is denied, or motion to unseal is granted, then the Party

         (or, as appropriate, non-party) making the filing shall take steps to replace the Redacted

         Filing with its corresponding unredacted version pursuant to the Court’s order.

                 (d)    Any Party filing a Redacted Filing in accordance with the procedure set

         forth in this paragraph 12 shall, contemporaneously with or prior to making the Redacted

         Filing, provide the other Parties and the Court with a complete and unredacted version of

         the filing.

                 (e)    All pleadings, briefs or memoranda which reproduce, paraphrase or disclose

         any materials which have previously been designated by a party as comprising or

         containing Confidential Information shall identify such documents by the production

         number ascribed to them at the time of production.

         13.     Any person receiving Confidential Information shall not reveal or discuss such

  information to or with any person not entitled to receive such information under the terms hereof

  and shall use reasonable measures to store and maintain the Confidential Information so as to

  prevent unauthorized disclosure.

         14.     Any document or information that may contain Confidential Information that has
  been inadvertently produced without identification as to its “Confidential” or “Attorneys’ Eyes

  Only” nature, may be so designated by the party asserting the confidentiality or attorneys’ eyes

  only privilege by written notice to the undersigned counsel for the Receiving Party identifying the

  document or information as “Confidential” or “Attorneys’ Eyes Only” within a reasonable time

  following the discovery that the document or information has been produced without such

  designation.

         15.     Extracts/excerpts and summaries of Confidential Information shall also be treated

  as Confidential or Attorneys’ Eyes Only in accordance with the provisions of this Stipulation.



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         16.     The production or disclosure of Confidential Information shall in no way constitute

  a waiver of each Producing Party’s right to object to the production or disclosure of other

  information in this action or in any other action. Nothing in this Stipulation shall operate as an

  admission by any Party or non-party that any particular document or information is, or is not,

  Confidential or for Attorneys’ Eyes Only. Failure to challenge a Confidential Information

  designation shall not preclude a subsequent challenge thereto.

         17.     This Stipulation is entered into without prejudice to the right of any Party or

  nonparty to seek relief from, or modification of, this Stipulation or any provisions thereof by

  properly noticed motion to the Court or to challenge any designation of material as Confidential

  or Attorneys’ Eyes Only as inappropriate under the Federal Rules of Civil Procedure or other

  applicable law.
         18.     Use of Information Exchanged in This Lawsuit. All information produced or

   exchanged in connection with this Lawsuit, whether or not designated with a confidentiality

   designation under this Stipulation, shall be used solely for the purposes of conducting this Lawsuit

   and shall not be used for any business, commercial, competitive, personal, legal, or other purpose.

         21.     This Stipulation shall continue to be binding after the conclusion of this litigation

  except that there shall be no restriction on documents that are used as exhibits in Court (unless

  such exhibits were filed under seal); and (b) that a Receiving Party may seek the written permission

  of the Producing Party or further order of the Court with respect to dissolution or modification of

  the Stipulation. The provisions of this Stipulation shall, absent prior written consent of the Parties,

  continue to be binding after the conclusion of this action.

         21.     Nothing herein shall be deemed to waive any privilege recognized by law or shall

  be deemed an admission as to the admissibility in evidence of any facts or documents revealed in

  the course of disclosure.

         22.     Post-Litigation. Within thirty (30) days after the final termination of this litigation

  by settlement or exhaustion of all appeals, all Confidential Information produced or designated

  and all reproductions thereof shall be returned to the Producing Party or, at the Receiving Party’s

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  option, shall be destroyed. In the event that any Receiving Party chooses to destroy physical objects

  and documents, such Party shall certify in writing within thirty (30) days of the final termination

  of this litigation that it has undertaken its best efforts to destroy such physical objects and

  documents, and that such physical objects and documents have been destroyed to the best of its

  knowledge. Notwithstanding anything to the contrary, counsel of record for the Parties may retain

  one (1) copy of documents constituting work product, a copy of pleadings, motion papers,

  discovery responses, deposition transcripts and deposition and trial exhibits. This Stipulation shall

  not be interpreted in a manner that would violate any applicable rules of professional conduct.

  Nothing in this Stipulation shall prohibit or interfere with the ability of counsel for any Receiving

  Party, or of experts specially retained for this case, to represent any individual corporation or other

  entity adverse to any Party or non-party or their affiliate(s) in connection with any other matter.
         23.     Subpoenas. If a Receiving Party is called upon to produce Confidential

  Information in order to comply with a court order, subpoena, or other direction by a court,

  administrative agency, or legislative body, the Receiving Party from which the Confidential

  Information is sought shall: (a) give written notice by overnight mail and either email or facsimile

  to the counsel for the Producing Party within five (5) business days of receipt of such order,

  subpoena, or direction; and (b) give the Producing Party five (5) business days to object to the

  production of such Confidential Information, if the Producing Party so desires. Notwithstanding

  the foregoing, nothing in this paragraph shall be construed as requiring any party to this Stipulation

  to subject itself to any penalties for noncompliance with any court order, subpoena, or other

  direction by a court, administrative agency, or legislative body.

         24.     Modifications. This Stipulation may be changed by further order of this Court, and

  is without prejudice to the rights of a Party to move for relief from any of its provisions, or to seek

  or agree to different or additional protection for any particular material or information.

         25.     Counterparts. This Stipulation may be signed in counterparts, which, when fully

  executed, shall constitute a single original, and electronic signatures shall be deemed original

  signatures.

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          26.     In connection with their review of electronically stored information and hard-copy

   documents for production (the “Documents Reviewed”) the Parties agree as follows:

                  (a)       to implement and adhere to reasonable procedures to ensure Documents

          Reviewed that are protected from disclosure (“Protected Information”) are identified and

          withheld from production.

                  (b)       if Protected Information is inadvertently produced, the Producing Party

          shall take reasonable steps to correct the error, including a request to the Receiving Party

          for its return.

                  (c)       upon request by the Producing Party for the return of Protected Information

          inadvertently produced the Receiving Party shall promptly return the Protected Information

          and destroy all copies thereof. Furthermore, the Receiving Party shall not challenge either

          the adequacy of the Producing Party's document review procedure or its efforts to rectify

          the error, and the Receiving Party shall not assert that its return of the inadvertently

          produced Protected Information has caused it to suffer prejudice.
          27.     Entire Agreement. This Agreement shall constitute the sole and entire agreement

   of the Parties with respect to the designation, disclosure, and use by the Parties of all designed

   documents and information produced in this case, and it supersedes all prior and contemporaneous

   understandings, agreements, and representations, both written and oral.

          28.     Effective and Binding. This Agreement shall be deemed effective and binding as

   to each Party, its attorneys, agents, and representatives, upon execution by all Parties.

          29.     Headings. The headings and titles used throughout are for convenience only and

   shall not have any substantive or other effect on this Agreement.

          30.     Choice of Law. This Agreement shall be governed and construed in accordance

   with the laws of the State of Florida, without regard for its conflict of laws principles, and venue

   for any action related to this Agreement shall lie in the United States District Court for the

   Southern District of Florida.



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   SO STIPULATED:

   DATED: August 11, 2022



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   By:    /s/ Annie D. Rosenthal          By:   /s/ Joseph G. Jacob
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          Florida Bar No. 1031335               Florida Bar No. 118344
                                                Jordan Sacks
                                                Florida Bar No. 122521




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